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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


                                  Case No. 20-22471-CIV-GAYLES



 NORTH AMERICAN SUGAR INDUSTRIES INC.,

                                          Plaintiff,

                             v.

 XINJIANG GOLDWIND SCIENCE & TECHNOLOGY
 CO., LTD., GOLDWIND INTERNATIONAL
 HOLDINGS (HK) LTD., DSV AIR & SEA INC.,
 BBC CHARTERING USA, LLC, and
 BBC CHARTERING SINGAPORE PTE LTD.,

                                          Defendants.


                   CORPORATE DISCLOSURE STATEMENT OF
              PLAINTIFF NORTH AMERICAN SUGAR INDUSTRIES, INC.

        Pursuant to Federal Rule of Civil Procedure 7.1(a), Plaintiff North American Sugar

 Industries Inc. (“American Sugar”), by its undersigned counsel, hereby provides the following

 corporate disclosure statement.

        American Sugar hereby identifies its parent company as Azucar Holdings, LLC. No

 publicly held corporation owns 10% or more of American Sugar’s stock.

  Date: June 17, 2020                        Respectfully submitted,

                                             Miguel A. Estrada (to be admitted pro hac vice)
                                             Audi K. Syarief (to be admitted pro hac vice)
                                             GIBSON, DUNN & CRUTCHER LLP
                                             1050 Connecticut Ave., NW
                                             Washington, DC 20036-5306
                                             Telephone: (202) 955-8257
                                             Facsimile: (202) 530-9616
                                             mestrada@gibsondunn.com
                                             asyarief@gibsondunn.com
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                                    Andrea E. Neuman (to be admitted pro hac vice)
                                    Rahim Moloo (to be admitted pro hac vice)
                                    Casey Kyung-Se Lee (to be admitted pro hac vice)
                                    GIBSON, DUNN & CRUTCHER LLP
                                    200 Park Avenue, 47th Floor
                                    New York, NY 10166-0193
                                    Telephone: (212) 351-3883
                                    Facsimile: (212) 351-5303
                                    aneuman@gibsondunn.com
                                    rmoloo@gibsondunn.com
                                    clee@gibsondunn.com



                                    _____________________
                                    David S. Mandel
                                    FBN 38040
                                    MANDEL & MANDEL LLP
                                    169 East Flagler Street, Suite 1224
                                    Miami, FL 33131
                                    Telephone: (305) 374-7771
                                    dsm@mandel.law

                                    Counsel for Plaintiff North American Sugar
                                    Industries Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 17, 2020, I electronically filed the foregoing document with

 the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

 counsel or parties of record.


                                               David S. Mandel




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